






NO. 07-03-0038-CR

       07-03-0040-CR


IN THE COURT OF APPEALS


FOR THE SEVENTH DISTRICT OF TEXAS


AT AMARILLO


PANEL C


MARCH 12, 2004


______________________________



DAVID SOLOMON MAZE, APPELLANT


V.


THE STATE OF TEXAS, APPELLEE



_________________________________


FROM THE CRIMINAL JUDICIAL DISTRICT COURT OF JEFFERSON COUNTY;


NO. 78589, 77617; HONORABLE LARRY GIST, JUDGE


_______________________________


Before JOHNSON, C.J., and QUINN and REAVIS, JJ.


MEMORANDUM OPINION


	Appellant David Solomon Maze appeals two convictions for possession of a
controlled substance (cocaine).  We dismiss for lack of jurisdiction in part and affirm in part.

	Pursuant to a plea bargain, appellant pled guilty to two charges of possession of a
controlled substance in the Criminal District Court of Jefferson County.  On June 3, 1999,
appellant appeared and pled guilty to a charge of possession of cocaine in an amount of
at least one gram but less than four grams, a third degree felony (Appellate Cause No. 07-03-0038-CR, Trial Cause No. 78589).  At the same hearing, appellant pled guilty to
possession of cocaine in an amount of at least four grams, but less than 200 grams, a
second degree felony (Appellate Cause No. 07-03-0040-CR, Trial Cause No. 77617).  Prior
to this hearing, appellant signed written plea admonishments, stipulations, waivers and
judicial admissions regarding both charges.  He also made his plea of guilty on the record
while in open court.  The trial court accepted the punishment recommendations relating to
these charges that appellant and the prosecutor had agreed upon and sentenced appellant
to community supervision for a period of ten years with adjudication deferred and a $1,000
fine for each charge.

	On July 10, 2000, appellant appeared in court and pled guilty to an additional charge
of possession of cocaine.  As this new conviction violated the terms of appellant's
community supervision, the State filed motions to revoke probation on the earlier
possession charges.  Appellant pled "true" to a total of five counts of violating the terms of
his community supervision.  The trial court entered a judgment of guilty on the third degree
felony charge but abated the motion on the second degree felony charge pending
appellant's successful completion of a Substance Abuse Felony Punishment Facility
program.  The trial court sentenced appellant to ten years in the Texas Department of
Criminal Justice, Institutional Division, for the third degree conviction but suspended the
term for ten years. 

	On October 21, 2002, appellant again appeared before the trial court on motions to
revoke probation.  Appellant pled "true" to five violations of the terms of his community
supervision, including evading detention and failing to identify himself to a peace officer. 
The trial court granted both motions, adjudicated appellant guilty on the second degree
felony and sentenced appellant to ten years confinement in the Texas Department of
Criminal Justice, Institutional Division.

	Appellant filed separate notices of appeal for each of these convictions and
sentences.  The notices are general notices of appeal.

	Counsel for appellant has filed a Motion to Withdraw as Counsel and a Brief in
Support thereof in each appeal.  In support of the motions to withdraw, counsel has
certified that, in compliance with Anders v. California, 386 U.S. 738, 744-45, 87 S.Ct. 1396,
18 L.Ed.2d 493 (1967), the record has been diligently reviewed and, that in the opinion of
counsel, the record reflects no reversible error or grounds upon which non-frivolous
appeals can arguably be predicated.  Counsel thus concludes that the appeals are
frivolous.  Counsel has discussed why, under the controlling authorities, there are no
arguably reversible errors in the trial court proceedings or judgments. See High v. State,
573 S.W.2d 807, 813 (Tex.Crim.App. 1978).

	Counsel has certified that a copy of the Anders brief and Motions to Withdraw as
Counsel have been served on appellant, and that counsel has appropriately advised
appellant of his right to review the record and file pro se responses.  Appellant did not file
a pro se response. 

	In deferred adjudication proceedings, issues relating to the original deferred
adjudication proceeding must be appealed when the deferred adjudication is first imposed. 
See Vidaurri v. State, 49 S.W.3d 880, 884-86 (Tex.Crim.App. 2001); Daniels v. State, 30
S.W.3d 407, 408 (Tex.Crim.App. 2000).  Appellant did not do so.  Thus, his notice of appeal
was not timely to invoke appellate jurisdiction to review the original proceedings.  Id.  An
untimely notice of appeal will not invoke the jurisdiction of the court of appeals.  See White
v. State, 61 S.W.3d 424, 428 (Tex.Crim.App. 2001).  If an appeal is not timely perfected,
a court of appeals does not have jurisdiction to address the merits of the appeal, and can
take no action other than to dismiss the appeal.  See id.; Slaton v. State, 981 S.W.2d 208,
210 (Tex.Crim.App. 1998).  Because appellant did not invoke our jurisdiction to consider
matters relating to his original deferred adjudication proceeding, we must dismiss the
appeal as to any such possible issues.  See White, 61 S.W.3d at 428; Vidaurri, 49 S.W.3d
at 884-85.

	As to those matters unrelated to his original deferred adjudication proceeding, the
record does not support any arguably meritorious error which was harmful to appellant.  

    	 The appeals are dismissed for lack of jurisdiction as to any issues relating to
appellant's original deferred adjudication proceedings.  The judgments of the trial court are
affirmed as to any issues unrelated to the original deferred adjudication proceedings. 
Appellate counsel's motions to withdraw are granted.    

							Phil Johnson

							Chief Justice


Do not publish.  



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NO. 07-10-0355-CV

NO. 07-10-0356-CV

NO. 07-10-0357-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL A

&nbsp;

OCTOBER 26, 2010

&nbsp;

______________________________

&nbsp;

&nbsp;

IN RE TIMOTHY RAY WILLIAMS, RELATOR

&nbsp;

_________________________________

&nbsp;

&nbsp;

Before CAMPBELL and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Timothy Ray Williams,
proceeding pro se and in forma pauperis, seeks a writ
of mandamus to compel the Honorable John B. Board, Judge of the 181st District
Court of Randall County, to rule on his Motion
to Rescind Order to Withdraw Inmate Funds filed in the trial court on May
5, 2010.&nbsp; Relator's
motion to rescind follows from this Court's Opinion on Abatement issued on
April 22, 2010, in cause number 07-10-0091-CV, 07-10-0100-CV, and
07-10-0101-CV, wherein this Court abated further proceedings for 180 days to
allow Relator time to challenge the order to withdraw
inmate funds.&nbsp; As of October 20, 2010, a
reporter's record and supplemental clerk's record were both filed reflecting
that a hearing was held on Relator's motion and that the
trial court signed an order granting in part and denying in part Relator's motion to rescind.&nbsp; Consequently, the relief sought by Relator in his Petitions for a Writ of Mandamus is rendered
moot.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, we dismiss
these proceedings.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

&nbsp;

&nbsp;





